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                        EXHIBIT A




                                                                           UBS001
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    LATHAM & WATKINS LLP                                   BUTLER SNOW LLP
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    Counsel for UBS Securities LLC and UBS
    AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
------------------------------------------------------------
In re                                                        § Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                          Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG,                               § Adversary Proceeding
LONDON BRANCH,                                               §
                                                             § No. 21-03020
                                    Plaintiffs,              §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



                                                                                                         UBS002
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                   DECLARATION OF KATHRYN GEORGE
      IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN ORDER AUTHORIZING
                  ALTERNATIVE SERVICE OF SUBPOENAS

       I, Kathryn George, hereby declare under penalty of perjury as follows:

       1.      I am an attorney with the law firm of Latham & Watkins LLP, counsel of record

for UBS Securities LLC and UBS AG London Branch (together “UBS”).

       2.      I submit this declaration (the “Declaration”) in support of Plaintiffs’ Motion for an

Order Authorizing Alternative Service of Subpoenas (the “Motion”), which seeks an order

authorizing alternative service of process of a Subpoena to Testify at a Deposition in a Bankruptcy

Case or Adversary Proceeding and a Subpoena to Produce Documents, Information, or Objects

or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding (together, the

“Subpoenas”) upon James Dondero via overnight mail and email to counsel.

       3.      The Motion relates to discovery sought by UBS from Mr. Dondero in connection

with Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary Injunction [Adv. Dkt.

4] (the “TRO Motion”), which UBS filed under seal on March 31, 2021.

       4.      A true and correct copy of the March 30, 2021 email from my colleague Robert

Allen of Latham & Watkins LLP, counsel to UBS, to Clay Taylor of Bonds Ellis Eppich Schafer

Jones LLP, counsel to Mr. Dondero, among others, with the subject “Document Preservation

Notice” is attached hereto as Exhibit 1.

       5.      A true and correct copy of the March 31-April 1, 2021 email exchange between

Clay Taylor and my colleague Andrew Clubok of Latham & Watkins LLP, among others, with the

subject “21-03020-sgj Complaint Filed Under Seal” is attached hereto as Exhibit 2.

       6.      A true and correct copy of the April 1-5, 2021 email exchange between Robert

Allen and Clay Taylor, among others, with the subject “Notices and Subpoenas to Mr. James

Dondero” is attached hereto as Exhibit 3.


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                                                                                          UBS003
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       7.      A true and correct copy of the April 16, 2021 email exchange between my colleague

Sarah Tomkowiak of Latham & Watkins LLP and Clay Taylor, among others, with the subject

“UBS / Highland” is attached hereto as Exhibit 4.

       8.      A true and correct copy of Michael Hernandez’s Affidavit of Attempted Service on

James Dondero is attached hereto as Exhibit 5.

       9.      A true and correct copy of Donna King’s Affidavit of Attempted Service on James

Dondero is attached hereto as Exhibit 6.

       10.     A true and correct copy of Whitnie Climer’s Affidavit of Attempted Service on

James Dondero is attached hereto as Exhibit 7.

       11.     A true and correct copy of Donna King’s second Affidavit of Attempted Service on

James Dondero is attached hereto as Exhibit 8.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on April 19, 2021.

                                                            /s/ Kathryn George
                                                            Kathryn George
                                                            LATHAM & WATKINS LLP




                                                 3
                                                                                        UBS004
